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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA              )
                                      )
            v.                        )         Cr. No. 18-10450-MLW
                                      )
ERICK LOPEZ FLORES,                   )
HENRI SALVADOR GUTIERREZ,             )
ELISEO VAQUERANO CANAS,               )
JONATHAN TERCERO YANES,               )
MARLOS REYES, and                     )
DJAVIER DUGGINS,                      )
     Defendants.                      )

                          MEMORANDUM AND ORDER

WOLF, D.J.                                                     July 28, 2020

       For the reasons described at the hearing on July 27, 2020,

it is hereby ORDERED that:

       1.   Defendant   Djavier      Duggins'    Assented-to    Motion     for

Extension of Time to Provide Sealed Submissions (Dkt. No. 261)

is ALLOWED.

       2.   Duggins' Motion to Review Order of Detention (Dkt. No.

92) and Second Motion to Review His Order of Detention (Dkt. No.

131) are DENIED.

       3.   The government and counsel for Duggins shall confer

and,   by   September   4,   2020,    report    whether   an   agreement    to

resolve this case against Duggins has been reached. If not, the

parties shall continue to confer and propose a date by which

they shall report again.
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     4.      Any     motions    to    dismiss,      motions       to    suppress,         and

motions in limine concerning the case against Duggins shall be

filed by August 24, 2020. Any oppositions to such motions shall

be filed by September 14, 2020. Any replies shall be filed by

September 28, 2020. A hearing on any such motions shall begin on

October 14, 2020, at 10:00 a.m., and continue from day to day if

necessary.

     5.      To     the    maximum        extent     reasonably         possible,         the

government        shall,   by   August      10,     2020,   disclose          to   Duggins

concerning the case against him: (a) the material exculpatory

information identified in Local Rule 116.2 that has not been

previously produced; 1 and (b) a general description (including

the approximate date, time, and place) of any crime, wrong, or

act the government proposes to offer pursuant to Fed. R. Evid.

404(b).

     6.      The     deadlines       as    stated      in   the        June    24,     2020

Memorandum    and     Order     (Dkt.     No.   216)    remain     unchanged         as   to

Duggins' co-defendants.

     7.      Defendant Eliseo Vaquerano Canas' request for a 30-day

extension    to     provide     notice      under    Federal      Rule    of       Criminal

Procedure 12.2(b) (Dkt. No. 266) is ALLOWED.



1    "Material" in this context is to be construed consistent
with the decision in United States v. Safavian, 233 F.R.D. 12,
16 (D.D.C. 2005) (Friedman, J.).

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     8.   Counsel for the government and each of the defendants

shall confer and report, by August 7, 2020: (a) their views on

defendant Henri Salvador Gutierrez's Federal Rule of Criminal

Procedure 12.2(b) Notice (Dkt. No. 259); (b) whether the court

should order an evaluation of Salvador Gutierrez, pursuant to

Federal Rule of Criminal Procedure 12.2(c)(1)(A), to determine

his competency; and (c) whether, pursuant to Rule 12.2(c)(1)(B),

the court should order an examination of Salvador Gutierrez's

mental condition for any other reason and, if so, the questions

it should address and the procedures that should be ordered.

     9.   The parties shall order the transcript of the July 27,

2020 hearing.




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